Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 en 32

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UNITED STATES DISTRICT COURT \ ey
WESTERN DISTRICT OF NEW YORK CSP ELoewencus

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SAURIN POPAT, M.D.,

 

DECISION AND ORDER
Plaintiff,
Vv. 1:15-CV-01052 EAW
ELAD LEVY, M_D., et al.,
Defendants.
INTRODUCTION

Plaintiff Saurin Popat, M.D. (‘Plaintiff’) brings various claims arising out of his
employment against five defendants: (1) Elad Levy, M.D. (“Dr. Levy”); (2) The State
University of New York at Buffalo (the “University”); (3) University at Buffalo School
of Medicine and Biomedical Sciences (“Medical School”); (4) Kaleida Health
(“Kaleida’’); and (5) University at Buffalo Neurosurgery, Inc. (“UBNS”) (collectively,
‘“Defendants’”). (Dkt. 21 at 1). Plaintiff alleges violations of Title VII of the Civil Rights
Act of 1964 (“Title VII’), 42 U.S.C. §§ 2000e, et seg., 42 U.S.C. §§ 1981 and 1983, the
New York State Human Rights Law, New York Executive Law §§ 290, ef seg.
(“NYSHRL”), the United States Constitution, the New York State Constitution, and New
York State common law. (/d. at §.1). He raises six claims: (1) race and national origin
discrimination and hostile work environment under Title VII; (2) retaliation under Title
VII; (3) discrimination and retaliation under NYSHRL; (4) discrimination and retaliation
under § 1981; (5) discrimination and retaliation under § 1983; and (6) tortious

interference. (/d. at 9-15).
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 2 of 32

Presently before the Court is UBNS and Dr. Levy’s motion to dismiss all of
Plaintiff's claims, except those arising under § 1981, pursuant to Federal Rule of Civil
Procedure 12(b)(6).! (Dkt. 32). For the reasons set forth below, the motion to dismiss is
granted in part and denied in part.

BACKGROUND

The following facts are taken from the amended complaint and assumed to be true
for purposes of this motion.

I. Factual Background

The University controls and operates the Medical School and the University at
Buffalo Neurosurgery Group (““UBNG”). (Dkt. 21 at § 11). The UBNG is “an academic
neurosurgical group comprised of physicians and other healthcare employees who are
part of the University’s ‘UBMD Physicians Group,’ which boasts more than 500
doctors... practicing medicine and teaching medical students and residents at [the
University at Buffalo]’s Medical School and in area hospitals, including Kaleida
facilities.” (Id.). The UBMD Physicians Group, also known as UBMD, Inc., “provides
marketing services to other physician practice groups associated with the University,
including [UBNS].” Ud. at 912). “UBNS is a New York not-for-profit corporation
associated with the University, providing academic support and is a clinician care

component for the University.” (Ud. at ¢ 13). Like UBNG, UBNS is part of the UBMD

 

l The remaining defendants—the University, the Medical School, and Kaleida—
have answered the amended complaint. (Dkt. 28; Dkt. 29).

2 UBNG and the UBMD Physicians Group are not parties to this action.

-2-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 3 of 32

Physicians Group. (/d. at 9 15). Kaleida “is a large healthcare provider in Western New
York” that “operates several hospitals and surgical facilities.” Wd. at 914). Kaleida’s
neurosurgeons are all from the University, and Kaleida publicly identifies Plaintiff as “‘a
Kaleida Health physician.’” (/d.). Together, “[t]he University, UBNS, and Kaleida, in
addition to being direct employers of Plaintiff, are also joint-employers of Plaintiff...
[and] have: (i) an interrelation of operations; (ii) centralized control of labor relations;
(iii) common management; and (iv) common ownership or financial control.” (Ud. at
{ 16).

Dr. Levy is “a Caucasian individual . .. employed by the University, UBNS, and
Kaleida.” (Ud. at § 15). He is a University professor, a physician with UBNG and UBNS,
Chief of Neurosurgery at Kaleida, and Co-Director of Kaleida Health Stroke Center and
Cerebrovascular surgery. (/d.).

Plaintiff is of African and Southeast Asian origin and a doctor currently employed
by the Delaware Medical Group, P.C., as its Director of Head and Neck/Skull Base
Surgery. (/d. at J§ 18-19). He was previously employed by the University as a faculty
member in the Departments of Neurosurgery and Otolaryngology at the Medical School.
(Id. at 420). The University compensated him and had the power to terminate his
employment. (/d. at §§ 21-22). He was “also considered an employee of Kaleida” (id. at
423), because he oversaw procedures of medical students and residents in Kaleida
surgical facilities, and Kaleida gave him certain privileges and asserted direction and

control over his work performance (id. at 4] 22-24).
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 4 of 32

Plaintiff alleges that the University, UBNS, and Kaleida allowed Dr. Levy “to
engage in severe and pervasive discrimination against women and people of color,” and
“to retaliate against Plaintiff for having complained of these wrongful acts.” (/d. at ¥ 26).
He also alleges that those defendants “interfered with his employment with the
University, Kaleida, and Delaware Medical Group.” (Ud.). Plaintiff further alleges that
“Dr. Levy engaged in severe and pervasive harassment toward Plaintiff due to his race
and national origin, and he has otherwise created a hostile work environment for dark-
skinned employees.” (/d. at § 27).

Plaintiff alleges two incidents in which Dr. Levy made inappropriate comments
about race or national origin. First, Dr. Levy referred or allowed other individuals “to
refer to UBNS as ‘BUNS,’ an acronym for ‘Brown University Neurosurgery’ because of
the prevalence of physicians of color in that department.” (Ud. at 28). Second, on July
22, 2014, Dr. Levy “stated that he felt like he was at a ‘UPS convention’” during an
operation in which Plaintiff, Dr. Levy, and others participated. (Ud. at {] 29-31). Plaintiff
further alleged:

Dr. Levy was asked to repeat himself and he did so by stating, “A UPS

convention. Do you know what the UPS slogan is?” He specifically turned

to Plaintiff and directly asked, “Do you know?” to which Plaintiff replied

that he did not. Next, Dr. Levy stated, “What can Brown do for you?”

There were eight people, including Plaintiff, in the operating room that had

brown skin tones and were of African-American, South-East Asian, or

Middle Eastern descent or origin.

(Ud. at J] 32-34).

On August 14, 2014, Plaintiff complained, by letter, about Dr. Levy to Dr.

Michael E. Cain, Dean of the Medical School, and Jody Lomeo, CEO of Kaleida, and

4.
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 5 of 32

requested an investigation of Dr. Levy’s discrimination based on the comments and his
“other abusive and harassing conduct that . . . creat[ed] the hostile work environment.”
Ud. at §§ 37-38). Plaintiff alleges that Dean Cain (or his representative) released
Plaintiffs letter to Dr. Levy on or before August 19, 2014, despite the University’s policy
of confidentiality in such matters. (/d. at § 39). Ten days later, on August 29, 2014, Dr.
Levy terminated Plaintiff's faculty position. Ud. at { 36).

Plaintiff alleges that Kaleida failed to investigate Dr. Levy, and that the
University, “[d]jespite . . . issuing a report that strongly suggests that Plaintiffs
complaints are accurate and that Dr. Levy committed wrongful acts,” has not taken
“definitive action’ about the complaint, other than to require Dr. Levy to participate in
anti-discrimination training. (/d. at § 40).

Plaintiff further alleges that, as retaliation for complaining about Dr. Levy,
Defendants each “have interfered with the employment relationship between Plaintiff and
Delaware Medical Group”—his current employer—by, inter alia, ceasing referrals to
Plaintiff or the Delaware Medical Group, and also by conspiring to interfere with his
employment. (/d. at { 42).

Plaintiff also alleges that, for several years, he had been building a specialized,
shared practice—called the “Specialty Practice Group’—-with employees of the
University, UBNS, and Kaleida. (/d. at § 43). According to Plaintiff, “the University,
Kaleida, UBNS, and Dr. Levy . . . are unlawfully and improperly exerting pressure on the
other doctors in their employ and under their control to retaliate against and punish

Plaintiff for having made complaints about Dr. Levy and to interfere with his

-5-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 6 of 32

employment relationship with the Delaware Medical Group.” (/d. at 744). Plaintiff
contends that Defendants, inter alia, “acted with a discriminatory animus toward [him]
and retaliated against him for complaining of the discrimination and hostile work
environment by interfering with his employment with Delaware Medical Group and
interfering with his economic advantage and contracts with other doctors employed
and/or controlled by Defendants.” (/d).
I. Procedural History

Plaintiff “filed a timely charge of discrimination against Defendants” with the
Equal Employment Opportunity Commission (“EEOC”). (Ud. at 97). Plaintiff's
amended complaint does not specify the respondents named in the EEOC charge, nor is
the identity of the respondents apparent from two right-to-sue letters that are attached to
the amended complaint. (/d. at 18-19). Those right-to-sue letters were dated September
16, 2015. Ud.).

Plaintiff commenced this action on December 15, 2015, by filing a complaint.
(Dkt. 1). On March 15, 2016, Plaintiff filed his amended complaint, which became the
operative pleading in this case. (Dkt. 21). On April 15, 2016, UBNS and Dr. Levy
moved to dismiss the amended complaint. (Dkt. 32). A motion hearing was held before
the undersigned on October 28, 2016, at which time the Court requested additional
briefing from both parties and reserved decision. (Dkt. 38). The parties submitted

additional briefing on November 14 and 15, 2016. (Dkt. 39; Dkt. 40; Dkt. 41).
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 7 of 32

DISCUSSION
I. Standard under Rule 12(b)(6)

“To survive a motion to dismiss, a complaint must contain sufficient factual
matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft
v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570 (2007)). A claim has facial plausibility when “the plaintiff pleads factual content
that allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged.” Jd. Generally, the Court must accept as true all of the allegations
contained in the complaint. See id. That rule does not apply to legal conclusions,
however: “threadbare recitals of the elements of a cause of action, supported by mere
conclusory statements .. . are not entitled to the assumption of truth.” Jd.; see also
Twombly, 555 U.S. at 555 (stating that a court is “not bound to accept as true a legal
conclusion couched as a factual allegation”).

The plausibility standard “asks for more than a sheer possibility that a defendant
has acted unlawfully.” Jgbal, 556 U.S. at 678. “Where a complaint pleads facts that are
‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between
possibility and plausibility of ‘entitlement to relief.’” Jd. (quoting Twombly, 550 U.S. at
557). “Determining whether a complaint states a plausible claim for relief [is]... a
context-specific task that requires the reviewing court to draw on its judicial experience
and common sense.” Jd. at 679. Plausibility is “a standard lower than probability.”
Anderson News, L.L.C. v. Am. Media, Inc., 680 F.3d 162, 184 (2d Cir. 2012). “[A] given

set of actions may well be subject to diverging interpretations, each of which is

_7-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 8 of 32

plausible,” and “[t]he choice between or among plausible inferences or scenarios is one
for the factfinder.” Jd A court “may not properly dismiss a complaint that states a
plausible version of the events merely because the court finds that a different version is
more plausible.” Jd. at 185.

IL. Title VII Claims (First and Second Claims for Relief)

Plaintiff's first and second claims are for race and national origin discrimination,
hostile work environment, and retaliation in violation of Title VII. (Dkt. 21 at 9-10).
UBNS and Dr. Levy seek to dismiss these claims, arguing that Dr. Levy cannot be held
liable under Title VII as an individual, that Plaintiff failed to exhaust his administrative
remedies against UBNS, and that UBNS is not Plaintiff’s employer for purposes of Title
VIL. (Dkt. 32-3 at 7-12).

A. Individual Liability of Dr. Levy

Plaintiff concedes that he cannot hold Dr. Levy individually liable under Title VIL.
(Dkt. 35 at 14 n.3). Accordingly, the Court dismisses all of Plaintiff's Title VII claims
asserted against Dr. Levy individually. See, e.g., Lore v. City of Syracuse, 670 F.3d 127,
169 (2d Cir. 2012) (“Title VII does not impose liability on individuals. . . .’).

B. Plaintiff’s Failure to Name UBNS in EEOC Charge

UBNS argues that Plaintiffs Title VII claims against it should be dismissed
because Plaintiff did not name UBNS in any charge filed with the EEOC or complaint
filed with the New York State Division of Human Rights, and so he failed to exhaust
administrate remedies. (Dkt. 32-3 at 9-12). Plaintiff argues that the “identity of interest”

exception to the naming requirement applies and allows him to proceed against UBNS,

-8-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 9 of 32

notwithstanding the fact that he did not name UBNS in any administrative charge. (DKkt.
35 at 16-20).

As a precondition to bringing a Title VII suit against a defendant in federal court, a
plaintiff must file with the EEOC (or an authorized state agency) a charge of employment
discrimination that names that defendant. See 42 U.S.C. § 2000e-5; Strine v. Marion
Cent. Sch. Dist., 280 F. Supp. 2d 75, 78 (W.D.N.Y. 2003) (“As a general rule, a party not
named in an EEOC charge may not be named in a subsequent discrimination suit.”).
However, failure to name UBNS in the EEOC charge does not necessarily foreclose
Plaintiff's Title VII claims against UBNS. The Second Circuit takes a “flexible stance in
interpreting Title VII’s procedural provisions, . . . so as not to frustrate Title VII's
remedial goals,” and therefore it recognizes an exception to the general rule that a
defendant must be named in an EEOC charge. Johnson v. Palma, 931 F.2d 203, 209 (2d
Cir. 1991) (internal citation and quotation omitted). The so-called “identity of interest”
exception allows a plaintiff to proceed against a defendant not named in the
administrative charge “where there is a clear identity of interest between the unnamed
defendant and the party named in the administrative charge.” Jd.

A district court should consider four factors to determine whether an identity of
interest exists between the unnamed defendant and the party named in the administrative

charge:

1) whether the role of the unnamed party could through reasonable effort by
the complainant be ascertained at the time of the filing of the EEOC
complaint; 2) whether, under the circumstances, the interests of a named
[party] are so similar as the unnamed party’s that for the purpose of
obtaining voluntary conciliation and compliance it would be unnecessary to

9.
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 10 of 32

include the unnamed party in the EEOC proceedings; 3) whether its

absence from the EEOC proceedings resulted in actual prejudice to the

interests of the unnamed party; 4) whether the unnamed party has in some

way represented to the complainant that its relationship with the

complainant is to be through the named party.

Id. at 209-10. “This four-prong test is not a mechanical one; no single factor is
determinative.” Dortz v. City of N.Y., 904 F. Supp. 127, 143 (S.D.N.Y. 1995).
“Ultimately, it is the plaintiff who has the burden of proving that the identity of interest
exception applies.” Senecal v. B.G. Lenders Serv. LLC, 976 F. Supp. 2d 199, 214
(N.D.N.Y. 2013).

As a threshold matter, Plaintiff was represented by counsel in the EEOC
proceedings. (See Dkt. 32-2). Although the identity of interest exception is not limited to
pro se parties, the fact that Plaintiff had the benefit of counsel is informative to the
Court’s consideration of the four factors catalogued above. See Senecal, 976 F. Supp. 2d
at 214-15 (noting that the Second Circuit has not explicitly addressed whether a
counseled party can benefit from the identity of interest exception and describing various
approaches to that issue by district courts within the Second Circuit); see also Lewis v.
Livingston Cty. Ctr. for Nursing & Rehab., 30 F. Supp. 3d 196, 205-06 (W.D.N.Y. 2014)
(noting that party had counsel in EEOC proceedings and that the exception is applied
most commonly to pro se parties, but still performing identity of interest analysis despite
that party was counseled); Wood v. Pittsford Cent. Sch. Dist., No. 03-CV-6541T, 2005

WL 43773, at *3-4 (W.D.N.Y. Jan. 10, 2005) (declining to limit identity of interest

exception to pro se cases).

-10-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 11 of 32

Turning to the four factors, whether the identity of interest exception applies is
unclear. Those factors appear to be a wash and do not weigh in favor of either side.
Plaintiffs allegations concerning the nature of the relationship between UBNS and the
other Defendants are somewhat nebulous. He alleges that UBNS is “a physician practice
group[] associated with the University” (Dkt. 21 at §/ 12), and a “not-for-profit
corporation associated with the University, providing academic support and is a clinician
care component for the University” (id. at { 13). Although Plaintiff had the benefit of
counsel in preparing his EEOC charge, “the roles of the various defendants are not easily
determined; they are overlapping and somewhat unclear.” Fox v. City Univ. of N.Y., No.
94 CIV. 4398(CSH), 1998 WL 273049, at *6 (S.D.N.Y. May 27, 1998) (finding that the
identity of interest exception applied and that the plaintiff could sue a non-named
research foundation when the plaintiff had named the associated university in the EEOC
charge). The lack of clarity in the relationships between Defendants also makes it
difficult to weigh the second factor, that is, whether UBNS had similar interests with
respect to obtaining voluntary conciliation and compliance in the EEOC proceedings.
The amended complaint lacks any allegations relevant to the third and fourth factors. For
its part, UBNS claims that it suffered prejudice and made no representations to Plaintiff
that his relationship to UBNS was through either the University or Kaleida. (Dkt. 32-3 at
12).

Because the amended complaint contains only limited allegations concerning the
relationships between UBNS and the named respondents, and because of the procedural

posture of this case—a motion to dismiss, before any discovery has occurred—the

-ll-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 12 of 32

limited record does not permit a determination as to whether the identity of interest
exception applies. “When it is unclear whether the identity of interest exception applies,
courts routinely permit the unnamed parties to proceed as defendants in the action.”
Lewis, 30 F. Supp. 3d at 206 (collecting cases declining to resolve identity of interest
issue at motion to dismiss stage). Accordingly, the Court denies without prejudice the
motion to dismiss the Title VII claims against UBNS on the basis that it does not have an
identity of interest with the respondents named in the EEOC charge.
C. Whether UBNS is a Covered Employer Under Title VII

Defendants also argue that Plaintiff's Title VII claims against UBNS should be
dismissed because it is not a covered employer under Title VII. (Dkt. 32-3 at 7-9).
Plaintiff responds that UBNS is a part of—and the same entity as—the University, as
well as a joint employer of Plaintiff. (Dkt. 35 at 14-16).

Title VII prohibits discriminatory employment practices by an “employer.” 42
U.S.C. § 2000e-2(a). “Consequently, the existence of an employer-employee relationship
is a primary element of Title VII claims.” Gulino v. N.Y. State Educ. Dep’t, 460 F.3d
361, 370 (2d Cir. 2006). When analyzing direct employment relationships under Title
VIL, the Court considers thirteen factors, as set forth by the Supreme Court in Community
for Creative Non—Violence v. Reid, 490 U.S. 730, 751-52 (1989):

the hiring party’s right to control the manner and means by which the

product is accomplished . . . . [;] the skill required; the source of the

instrumentalities and tools; the location of the work; the duration of the
relationship between the parties; whether the hiring party has the right to
assign additional projects to the hired party; the extent of the hired party’s

discretion over when and how long to work; the method of payment; the
hired party’s role in hiring and paying assistants; whether the work is part

-12-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 13 of 32

of the regular business of the hiring party; whether the hiring party is in

business; the provision of employee benefits; and the tax treatment of the

hired party.

Id. at 371 (quoting Reid, 490 U.S. at 751-52). While no single factor is determinative,
“the common-law element of control is the principal guidepost that should be followed.”
Id. (citation omitted).

In addition to an entity that has a direct employment relationship with the plaintiff,
an entity that is not formally the plaintiff's employer may be liable under Title VIL.
Kology v. My Space NYC Corp., 177 F. Supp. 3d 778, 781 (E.D.N.Y. 2016). That is,
“courts construe the term ‘employer’ functionally, to encompass persons who are not
employers in conventional terms, but who nevertheless control some aspect of an
employee’s compensation or terms, conditions, or privileges of employment.” Id.
(quotation omitted). Two doctrines provide for such indirect liability. See Arculeo v.
On-Site Sales & Mktg. LLC, 425 F.3d 193, 197 (2d Cir. 2005) (comparing single
employer and joint employer doctrines).

The first doctrine is the “single employer” doctrine. Jd. “A ‘single employer’
situation exists where two nominally separate entities are actually part of a single
integrated enterprise.” Jd. at 198 (citation omitted). “[E]xamples may be parent and
wholly-owned subsidiary corporations, or separate corporations under common
ownership and management.” Jd. When considering whether two entities are a single

employer, courts consider four factors: “(1) interrelation of operations, (2) centralized

control of labor relations, (3) common management, and (4) common ownership or

-13-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 14 of 32

financial control.” Cook v. Arrowsmith Shelburne, Inc., 69 F.3d 1235, 1240 (2d Cir.
1995) (quotation omitted).

The second doctrine is the “joint employer doctrine,” which, by contrast, does not
involve a single integrated enterprise. Arculeo, 425 F.3d at 198. Rather, joint employers
are “separate legal entities, but . . . they handle certain aspects of their employer-
employee relationship jointly.” Zd. (alterations, quotation marks, and citation omitted).

Where this doctrine is operative, an employee, formally employed by one

entity, who has been assigned to work in circumstances that justify the

conclusion that the employee is at the same time constructively employed

by another entity, may impose liability for violations of employment law on

the constructive employer, on the theory that this other entity is the

employee’s joint employer.

Id. “Here, courts look at ‘commonality of hiring, firing, discipline, pay, insurance,
records, and supervision’ to determine whether an entity is a joint employer.” Lima v.
Addeco, 634 F. Supp. 2d 394, 400 (S.D.N.Y. 2009) (quoting N.L.R.B. v. Solid Waste
Servs., Inc., 38 F.3d 93, 94 (2d Cir. 1994)), aff'd sub nom. Lima y. Adecco &/or Platform
Learning, Inc., 375 F. App’x 54 (2d Cir. 2010).

“Whether two related entities are sufficiently integrated to be treated as a single
employer is generally a question of fact not suitable to resolution on a motion to dismiss.”
Brown v. Daikin Am. Inc., 756 F.3d 219, 226 (2d Cir. 2014). “To survive a motion to
dismiss, therefore, a plaintiff need only allege facts ‘sufficient to put [the defendant] on
notice of the theory of employer liability upon which [the] claims are based.” Downey v.

Adloox Inc., No. 16-CV-1689 (IMF), 2017 WL 816141, at *5 (S.D.N.Y. Feb. 28, 2017)

(quoting Fowler v. Scores Holding Co., Inc., 677 F. Supp. 2d 673, 681 (S.D.N.Y. 2009));

-14-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 15 of 32

Barbosa v. Continuum Health Partners, Inc., 716 F. Supp. 2d 210, 219 (S.D.N.Y. 2010)
(“In order to state a claim against the defendants other than her direct, formal employer
on the basis of the ‘joint-employer’ doctrine, [the plaintiff] must plead enough facts so
that the claim is facially plausible and gives fair notice to defendants of her theory of
employer liability.”’).

Plaintiff has not clearly alleged the nature of his alleged employment relationship
with UBNS, claiming that it was both his direct and joint employer: “The University,
UBNS, and Kaleida, in addition to being direct employers of Plaintiff, are also joint-
employers of Plaintiff.” (Dkt. 21 at § 16 (emphasis added)). He asserts that those three
entities “have: (i) an interrelation of operations; (ii) centralized control of labor relations;
(iii) common management; and (iv) common ownership or financial control.” (d.). He
also alleges that the University controls and operates UBNG, and that UBNS is part of
UBNG. (/d. at {J 11, 15).

Plaintiff's opposition to the motion to dismiss is not any more precise regarding
whether UBNS is his direct or joint employer. In his opposition, Plaintiff explains that he
expects discovery to show that “UBNS is simply the practice management and billing
shell for the University” (Dkt. 35 at 15), and therefore he asserts that UBNS “is a part of
the University” (id. at 14), and that “the University, UB Medical, UBNG, and UBNS are
all the same entity” (id. at 16). Yet he also reiterates his claim that the University,
UBNS, and Kaleida jointly employed him. (/d. at 16). Moreover, despite Plaintiff's
repeated assertion that UBNS is liable as a joint employer, he recites the four factors

relevant to the single employer doctrine. (Dkt. 21 at § 16; Dkt. 35 at 16). But, as

-[5-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 16 of 32

discussed, those two doctrines are distinct; the single employer doctrine contemplates
liability against “another entity comprising part of the single integrated employer,” while
the joint employer doctrine “assumes that [the employers] are separate legal entities. . . .”
Arculeo, 425 F.3d at 198 (emphasis added). So, assuming the truth of Plaintiffs
allegation that UBNS is the same entity as the University and other defendants, the joint
employer doctrine is inapplicable.

Even setting aside the confusion regarding the theories of employer liability

advanced by Plaintiff and assuming Plaintiff alleges them in the alternative, the Court

 

3 During oral argument, Plaintiff argued, for the first time, an additional theory of

employer liability, known as “interference liability,” based on Sibley Memorial Hospital
v. Wilson, 488 F.2d 1338 (D.C. Cir. 1973), the case in which it was first enunciated.
Gulino, 460 F.3d at 373. Under the interference liability theory, an entity may be an
employer for Title VII purposes if the entity “affirmatively interfered with or affected the
plaintiff's direct employment or access to employment opportunities. ...” Jd. at 372.

“Normally, [the Court] will not consider arguments raised for the first time in a
reply brief, let alone [at or] after oral argument.” United States v. Barnes, 158 F.3d 662,
672 (2d Cir. 1998) (citation omitted). Moreover, even if Plaintiff had properly raised that
theory, the Court finds that he has not plausibly alleged UBNS’s liability under it.

The interference liability theory, although not necessarily foreclosed, is fairly
circumscribed in this Circuit. See Yacklon v. E. Irondequoit Cent. Sch. Dist., 733 F.
Supp. 2d 385, 389 (W.D.N.Y. 2010) (noting that the Second Circuit has “sharply limited
the scope of that rule” and collecting cases); see also Salamon v. Our Lady of Victory
Hosp., No. 06-1707-cv, 2008 WL 2609712, at *12 (2d Cir. Jan. 16, 2008) (“We need not
decide in this case whether Gulino closed the door entirely on the Sibley theory of
interference liability in this Circuit... .”). The Second Circuit made a “foray into the
hazy realm of the interference test,” Gulino, 460 F.3d at 373, in Spirit v. Teachers Ins. &
Annuity Ass’n, 691 F.2d 1054 (2d Cir. 1982) (internal citations omitted), vacated on other
grounds, 463 U.S. 1223 (1983), in which it held that “the term ‘employer,’ as it is used in
Title VII, is sufficiently broad to encompass any party who significantly affects access of
any individual to employment opportunities, regardless of whether that party may
technically be described as an ‘employer.’” Spirit, 691 F.2d at 1063.

Following Spirit, in Gulino, the Second Circuit noted that it “has never adopted a
broad reading of the Sibley interference test,” Gulino, 460 F.3d at 374, and that Spirit
“enunciated a narrow rule based upon a unique factual posture,” id. at 377. The Second

-16-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 17 of 32

finds that Plaintiffs Title VII claims against UBNS fail for the basic reason that the
amended complaint lacks any factual allegations about the degree to which UBNS played
a role in any aspect of his employment or shared employment decisions with the
University and/or Kaleida.

Plaintiff's amended complaint does not give rise to a plausible inference that
UBNS was a direct employer of Plaintiff. Apart from his conclusory statement that
UBNS was his direct employer (Dkt. 21 at § 16), he has alleged no facts concerning the
extent to which UBNS exerted control over the manner and means by which he
performed his duties, compensated him or provided him benefits, or played a role in any
other aspect of his employment bearing on the Reid factors recited above. Rather than
UBNS, the amended complaint plausibly alleges that Plaintiff had a direct employment
relationship with the University, who had the power to terminate his position and

compensated him, as well as Kaleida, who exerted control over Plaintiff and his work.

(See id. at §¥ 20-24).

 

Circuit described the limited holding of Spirit as follows: “[W]here an employer has
delegated one of its core duties to a third party . . . that third party can incur liability
under Title VII.” Jd; see also Jansson v. Stamford Health, Inc., Civil Action No. 3:16-
cv-260 (CSH), 2017 WL 1289824, at *23 (D. Conn. Apr. 5, 2017) (“[T]he Second Circuit
has recognized a carefully limited ‘interference’ theory under Title VII: “where an
employer has delegated one of its core duties to a third party’ (¢.g., administration of a
retirement plan).” (quoting Gulino, 460 F.3d at 377)).

Here, Plaintiffs amended complaint lacks any allegation that any “core employer
responsibility,” Gulino, 460 F.3d at 378, has been delegated to UBNS by one of the
parties with which he has a clear direct employment relationship (the University or
Kaleida). Accordingly, even if Plaintiff had not belatedly raised the interference theory
at oral argument, the Court finds that Plaintiff has not plausibly alleged that UBNS is his
employer for Title VII purposes under that theory.

-17-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 18 of 32

Plaintiff's allegations fare no better with respect to the joint or single employment
theories of liability. The only factual content relevant to the relationship between UBNS
and the University or Kaleida is this: “UBNS . . . is a corporation associated with the
University, providing academic support and is a clinician care component for the
University.” (/d. at §13). It is difficult to interpret Plaintiffs limited factual
allegations—that UBNS is “associated with the University” and is the University’s
“clinician care component”—as plausibly suggesting that UBNS played a sufficient role
in the employment matters of the University to be considered a joint or single employer.
That is, these allegations do not sufficiently indicate “commonality of hiring, firing,
discipline, pay, insurance, records, and supervision” as needed to plausibly suggest that
UBNS acted as a joint employer. And, Plaintiff merely recites the four factors for the
single employer doctrine, unaccompanied by any factual allegations to support that
theory. (/d. at § 11, 15). Thus, Plaintiff has not alleged facts sufficient to put UBNS on
notice of the theory of employer liability upon which Plaintiffs claims are based. See
Downey, 2017 WL 816141, at *5.

The Court therefore dismisses Plaintiffs claims against UBNS arising under Title
VII. However, in light of the Second Circuit’s caution that whether an entity is a covered
employer under Title VII is generally is a fact-based question, Brown, 756 F.3d at 226,
the Court finds it appropriate to dismiss these claims without prejudice to re-pleading.

Ill. NYSHRL Claims (Third Claim for Relief)

In his third claim for relief, Plaintiff asserts claims of discrimination, retaliation,

and hostile work environment against all Defendants, in violation of the NYSHRL. (Dkt.

-18-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 19 of 32

21 at J 59-60). UBNS and Dr. Levy move to dismiss this claim, arguing that neither one
is a covered employer under the NYSHRL. (Dkt. 32-3 at 13-15).
A. Dr. Levy

Under the NYSHRL, an individual may be liable for employment discrimination
in two ways. Sutera v. Rochester City Sch. Dist., No. 11-CV-6057-FPG, 2014 WL
4245957, at *5 (W.D.N.Y. Aug. 26, 2014). First, an individual can be liable for
discrimination under New York Executive Law § 296(1) if the individual qualifies as an
employer, that is, one who has “any ownership interest or any power to do more than
carry out personnel decisions made by others.” Jd. (quoting Patrowich v. Chem. Bank,
63 N.Y.2d 541, 543-44 (1984)).

Second, an individual may be liable under New York Executive Law § 296(6) as
an aider or abettor of the discriminatory conduct. Jd. Section 296(6) provides that it is
“an unlawful discriminatory practice for any person to aid, abet, incite, compel or coerce
the doing of any of the acts forbidden under this article, or to attempt to do so.” N.Y.
Exec. Law. § 296(6). “[A]n individual defendant may be held liable under the aiding and
abetting provision of the NYSHRL if he actually participates in the conduct giving rise to
a discrimination claim.” Rojas v. Roman Catholic Diocese of Rochester, 660 F.3d 98,
107 n.10 (2d Cir. 2011) (citing Tomaka vy. Seiler Corp., 66 F.3d 1295, 1313 (2d Cir.
1995), abrogated on other grounds by Burlington Indus. v. Ellerth, 524 U.S. 742 (1998));
Patrick v. Garlick, 66 F. Supp. 3d 325, 332 (W.D.N.Y. 2014) (denying motion to dismiss

NYSHRL claims against supervisor because plaintiff adequately alleged that the

-19-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 20 of 32

supervisor actively aided and abetted in discrimination and retaliation, and collecting
cases).

Although Plaintiff’s amended complaint does not identify the theory of Dr. Levy’s
NYSHRL liability, Plaintiff's opposition papers specify that “Dr. Levy is a covered
employer under the NYSHRL as an aider and abettor given his direct participation in the
complained of discrimination.” (Dkt. 35 at 23). Plaintiff plausibly alleges that Dr. Levy
participated in the conduct giving rise to the discrimination and retaliation claims.
Plaintiff alleges that Dr. Levy engaged in “severe and pervasive harassment toward
Plaintiff due to his race and national origin, and has otherwise created a hostile work
environment for dark-skinned employees” (Dkt. 21 at § 27), and that he “fosters a culture
at the University, UBNS, and Kaleida permitting sexist remarks, sexually explicit
statements, and discriminatory comments about race and national origin” (id. at § 28).
Plaintiff also alleges that Dr. Levy, “in retaliation for Plaintiff having filed the
discrimination complaints,” ceased referrals to Plaintiffs current employer, the Delaware
Medical Group. (Jd. at §] 42). Construing these allegations in the light most favorable to
Plaintiff, the Court finds that he has adequately stated a claim of discrimination and
retaliation against Dr. Levy as an aider and abettor under the NYSHRL.

Some courts in this Circuit have not applied the aider and abettor theory of
liability “to actions taken by one individual defendant,” concluding that “an individual
cannot be held liable for merely aiding and abetting her own discriminatory conduct.”
Green v. Rochdale Vill. Soc. Servs., No. 15 Civ. 5824 (BMC), 2016 WL 4148322, at *10

(E.D.N.Y. 2016) (collecting cases). That distinction would not affect the result in this

- 20 -
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 21 of 32

case. Plaintiff asserts his NYSHRL claims against all Defendants, not just Dr. Levy; as a
result, it is plausible that Dr. Levy aided and abetted the discriminatory conduct of other
Defendants.

B. UBNS

The NYSHRL defines an “employer” in relation to its employees; that is, the
definition excludes “any employer with fewer than four persons in his or her
employ....” N.Y. Exec. Law § 292(5). To determine whether there is an employee-
employer relationship under the NYSHRL, state courts generally look to four elements:
“(1) the selection and engagement of the servant; (2) the payment of salary or wages;
(3) the power of dismissal; and (4) the power of control of the servant’s conduct.” Griffin
v. Sirva Inc., 835 F.3d 283, 291 (2d Cir. 2016) (quoting State Div. of Human Rights v.
GTE Corp., 487 N.Y.S.2d 234, 235, 109 A.D.2d 1082 (4th Dept. 1985)), certified
question accepted sub nom. Griffin, Michael Godwin v. Sirva, Inc., 28 N.Y.3d 956
(2016). “Courts have often stressed that the ‘really essential element of the relationship
is the right of control, that is, the right of one person, the master, to order and control
another, the servant, in the performance of work by the latter.”” Jd. (quoting GTE Corp.,
487 N.Y.S.2d at 235).

In Griffin, two employees had brought an action against three entities—their
former employer, a company that had a contractual relationship with the employer, and
the contracting company’s parent company—for discrimination on the basis of criminal
convictions, in violation of NYSHRL § 296(15). /d. at 284. The Second Circuit certified

three unsettled questions to the New York Court of Appeals:

-21-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 22 of 32

(1) Does Section 296(15) of the New York State Human Rights Law,
prohibiting discrimination in employment on the basis of a criminal
conviction, limit liability to an aggrieved party’s “employer’’?

(2) If Section 296(15) is limited to an aggrieved party’s “employer,”
what is the scope of the term “employer” for these purposes, i.e. does it
include an employer who is not the aggrieved party’s “direct employer,”
but who, through an agency relationship or other means, exercises a
significant level of control over the discrimination policies and practices of
the aggrieved party’s “direct employer”?

(3) Does Section 296(6) of the New York State Human Rights Law,
providing for aiding and abetting liability, apply to § 296(15) such that an
out-of-state principal corporation that requires its New York State agent to
discriminate in employment on the basis of a criminal conviction may be
held liable for the employer’s violation of § 296(15)?
Id. at 294. Section 296(15) is not at issue here; however, the Second Circuit described
the question of whether the joint employer and single employer doctrines apply to the
NYSHRL as unresolved, stating, “Both have been applied by courts in this circuit when
considering discrimination claims against businesses that are not the plaintiff's ‘direct

employer.’ But whether one or the other (or both) applies to the NYSHRL, especially

Section 296(15), remains unresolved.” Jd. at 293.4

 

‘ Some district court cases that have applied the single or joint employer doctrines

to NYSHRL claims have relied on Fowler v. Scores Holding Co., Inc., 677 F. Supp. 2d
673, 680-81 (S.D.N.Y. 2009). See, e.g., Barbosa v. Continuum Health Partners, Inc.,
716 F. Supp. 2d 210, 217 n.54 (S.D.N.Y. 2010) (citing Fowler, 677 F. Supp. 2d at 680-
81). The Fowler court cited to the Second Circuit’s decision in Arculeo for the
proposition that “[uJnder New York law, there are two well-established doctrines—the
single and joint employer doctrines—that allow an employee to assert employer liability
against an entity that is not formally his or her employer.” Fowler, 677 F. Supp. 2d at
680-81 (citing Arculeo, 425 F.3d at 197-98). However, the appeal in Arculeo was taken
from the district court’s grant of summary judgment on the Title VII claims and dismissal
of the NYSHRL claims without prejudice. Arculeo, 425 F.3d at 197. Accordingly, the
Arculeo case did not address those doctrines in the context of the NYSHRL,; rather, its
discussion was limited to Title VII.

-22 -
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 23 of 32

On May 4, 2017, the New York Court of Appeals issued a decision in Griffin v.
Sirva, Inc. __._ N.E.3d __, 2017 WL 1712423 (2017), in response to the certified
questions listed above. As noted above, one question certified by the Second Circuit was
the scope of the term “employer” for purposes of § 296(15). In answering that question,
the New York Court of Appeals noted that, “[i]n a different context, we have held that
‘{t]he standards for establishing unlawful discrimination under section 296 of the Human
Rights Law are the same as those governing title VII cases under the Federal Civil Rights
Act of 1964.°” Jd. at 12 (quoting Rainer N. Mittl, Ophthalmologist, P.C. v. New York
State Div. of Human Rights, 100 N.Y.2d 326, 330 (2003)).° The New York Court of
Appeals stated that “to determine who is an employer under the Human Rights Law,” the
four-factor test from GTE Corp. governs, with the “really essential element” being “the
right of control.” Jd. at 12-13. Thus, the New York Court of Appeals held that
“common-law principles, as discussed in G7E, determine who may be liable as an
employer under section 296(15) of the Human Rights Law, with greatest emphasis placed
on the alleged employer’s power ‘to order and control’ the employee in his or her
performance of work.” Jd. at 13.

Thus, while the New York Court of Appeals’ answer to the question posed by the
Second Circuit was ultimately constrained to § 296(15), which is not at issue in this case,
its analysis is relevant to this case in two respects. First, the New York Court of Appeals

confirmed that “‘[t]he standards for establishing unlawful discrimination under section

 

° Pinpoint citations to the New York Court of Appeals’ decision in Griffin refer to
the .pdf of the decision, available for download on that court’s website:
https://www.nycourts.gov/ctapps/Decisions/2017/May17/May17.html.

-23-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 24 of 32

296 of the Human Rights Law are the same as those governing title VI cases... .” Jd. at
12 (quoting Rainer, 100 N.Y.2d at 330). Second, it affirmed the use of the four-factor
test from GTE Corp. to identify whether an entity is an aggrieved party’s employer. Jd.
at 12-13. Yet the New York Court of Appeals’ analysis did not explicitly address the
question of whether the joint or single employer doctrines apply when determining if an
entity is an employer under a theory of indirect employer liability; thus, the question
appears to remain “unresolved.” Griffin, 835 F.3d at 293.

In any event, this Court need not grapple with that issue to resolve this motion to
dismiss because, under any of the tests discussed above (the four-factor test, joint
employer doctrine, and single employer doctrine), Plaintiff has failed to sufficiently plead
that UBNS is a covered employer under the NYSHRL. Applying the four-factor test,
Plaintiff's amended complaint fails because it includes no factual allegations regarding
whether UBNS had the power of selection, payment of wages, or power of dismissal or
control over Plaintiff. Assuming that the single or joint employer doctrines apply,
Plaintiff's NYSHRL claims against UBNS are insufficient for the same reasons as his
Title VII claims against UBNS, as discussed above. Accordingly, because Plaintiff has
not sufficiently alleged that UBNS is his employer for NYSHRL purposes, the Court
dismisses Plaintiffs claims against UBNS arising under the NYSHRL, without prejudice

to re-pleading.

24 -
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 25 of 32

IV. Section 1983 Claims (Fifth Claim for Relief)

In his fifth claim for relief, Plaintiff alleges that Defendants, acting under the color
of state law, deprived him of his constitutional rights in violation of § 1983. (Dkt. 21 at
{| 74-79).

“Section 1983 provides a cause of action against any person who deprives an
individual of federally guaranteed rights ‘under color’ of state law.” Filarsky v. Delia,
566 U.S. 377, 383 (2012) (quoting § 1983). To state a § 1983 claim, a plaintiff must not
only allege the defendant deprived the plaintiff of a Constitutional right, but also that the
defendant was a state actor or a private individual that acted “under color of state law.”
Ciambriello v. Cty. of Nassau, 292 F.3d 307, 323 (2d Cir. 2002). “[A] private actor acts
under color of state law when the private actor is a willful participant in joint activity
with the State or its agents.” Jd. at 324 (quotation omitted). A private actor may also be
liable under § 1983 if that actor conspires with a state actor to deprive a plaintiff of his
constitutional rights. Jd. at 324-25. ‘“{T]o survive a motion to dismiss on [a] § 1983
conspiracy claim, [a plaintiff] must allege (1) an agreement between a state actor and a
private party; (2) to act in concert to inflict an unconstitutional injury; and (3) an overt act
done in furtherance of that goal causing damages.” Jd. Whether alleging participation in
“joint activity” or a § 1983 conspiracy, a plaintiff must set forth more than mere
conclusory allegations. Jd. at 324-25.

Plaintiff does not allege that UBNS and Dr. Levy are state actors; rather, he
alleges generally that all Defendants, “acting under the color of state law, infringed upon

and deprived [Plaintiff] . . . of his Constitutional rights... .” (Dkt. 21 at 75).

~25-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 26 of 32

Otherwise, Plaintiff repeatedly alleges that Defendants acted together to discriminate or
retaliate against him. (See, e.g., id. at §§] 76-78). Those vague and conclusory allegations
are unsupported by factual content plausibly alleging an agreement or concerted action
between UBNS, Dr. Levy, and the other Defendants. See Ciambriello, 292 F.3d at 324-
35. Accordingly, because Plaintiff has not alleged enough facts to support an inference
of state action by UBNS or Dr. Levy, the Court dismisses Plaintiffs § 1983 claims
against those defendants without prejudice.

V. Claims for Tortious Interference with a Contract (Sixth Claim for
Relief)

In his sixth claim for relief, entitled ““Tortious Interference,” Plaintiff alleges that
he had “contracts, agreements, and relationships with other members and employees of

Defendants for the Specialty Practice Group” (Dkt. 21 at § 81), which Defendants knew

of and interfered with by:
discriminating against [Plaintiff], terminating his faculty position,
retaliating against [Plaintiff] by not sending referrals to him or Delaware
Medical Group, discouraging others involved with the Specialty Practice
Group and employed by the University, UBNS, and Kaleida to cease
working with [Plaintiff] and cease sending referrals to him and Delaware

Medical Group, and otherwise conspiring to end the Specialty Practice
Group.

(Id. at § 83). Plaintiff further alleges that Defendants’ actions resulted in “breach of these
contracts and agreements; prevented the making of future contracts and agreements; and
otherwise interfered with the relationships and performance of the contracts and
agreements.” (/d. at { 84). He further alleges that the actions “were intentional, done by

wrongful means and with malicious intent, and without any lawful justification” (id. at

- 26 -
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 27 of 32

4/85) and diminished his earnings and opportunities for professional development and
harmed his reputation (id. at J 86).

Plaintiff's amended complaint does not identify precisely the nature of his tortious
interference claim. (/d. at 14). UBNS and Dr. Levy contend that this cause of action,
which they construe as a claim for tortious interference with a contract, must be
dismissed because Plaintiff has not alleged the existence of any valid contract. (Dkt. 32-3
at 18-19). Plaintiff responds that he has not only sufficiently pleaded a claim for tortious
interference with a contract, but he has also sufficiently pleaded claims for “tortious
interference with employment” and for “tortious interference with contracting relations
and prospective economic advantage.” (Dkt. 35 at 25).

A. Tortious Interference with a Contract and Tortious Interference with
Employment

“Under New York law, the elements of a tortious interference claim are: (a) that a
valid contract exists; (b) that a ‘third party’ had knowledge of the contract; (c) that the
third party intentionally and improperly procured the breach of the contract; and (d) that
the breach resulted in damage to the plaintiff.” Finley v. Giacobbe, 79 F.3d 1285, 1294
(2d Cir. 1996).

In his opposition papers, Plaintiff attempts to clarify the nature of this claim. First,
he identifies the contract at issue as a “verbal contract relating to the building [of] a
special practice with other doctors at UBNS with the goal of developing an economically
successful practice.” (Dkt. 35 at 25 (citing Dkt. 21 at ]43)). However, the amended

complaint itself sets forth no facts concerning the nature of the contract (including

_27-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 28 of 32

whether it was verbal, as alleged in his opposition papers, or in writing) or the parties
with whom he made any contract. See Katz v. Travelers, 16-cv-439 (ADS) (SIL), 2017
WL 1317000, at *4 (E.D.N.Y. Mar. 10, 2017). Moreover, the claim is alleged against all
Defendants, even though it appears that some Defendants are allegedly parties to the
purported contract to build a Specialty Practice Group; however, Defendants cannot be
both a party to the contract and the interfering party.

Second, Plaintiff maintains that he has also stated a claim for tortious interference
with his employment, arguing that UBNS and Dr. Levy “interfered with his employment
relationship with his employer by intentionally causing harm to [him].” (Dkt. 25 at 27).
Whether this refers to Plaintiff's employment relationship with the University or with
Delaware Medical Group is unclear; in either scenario, Plaintiff has not identified
whether he was an at-will employee or had a valid employment contract. These
shortcomings are fatal to Plaintiff's claim, which, as discussed, requires Plaintiff to plead
the existence of a valid contract between a third party and Plaintiff. See Katz, 2017 WL
1317000, at *8 (“[FJailure to identify specific entities with which the [p|laintiffs had
contracts is fatal to their tortious interference with a contract cause of action.”);
Plasticware, LLC v. Flint Hills Resources, LP, 852 F. Supp. 2d 398, 404 (S.D.N.Y. 2012)
(‘Plaintiff has not plausibly alleged adequate details about a specific contract between
itself and a third party, but merely has alleged that it has ‘agreements’ with its customers.
This is insufficient.”); Bose v. Interclick, Inc., No. 10-CV-9183, 2011 WL 4343517, at
*10—11 (S.D.N.Y. Aug. 17, 2011) (dismissing a tortious interference with contract claim

where plaintiff generally claimed that it had contracts with various parties, but did not

- 28 -
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 29 of 32

give any “facts regarding the terms of the contracts or the specific parties to the
contracts”); Ho Myung Moolsan Co. v. Manitou Mineral Water, Inc., 665 F. Supp. 2d
239, 255 (S.D.N.Y. 2009) (denying leave to amend tortious interference with contract
claim that had been dismissed, because plaintiffs alleged only that “defendants interfered
with their customer contracts,” but did not “specify a single customer contract with which
defendants interfered”); Berman v. Sugo LLC, 580 F. Supp. 2d 191, 208 (S.D.N.Y. 2008)
(holding that claim for tortious interference with a contract failed to state grounds for
relief because it “simply allege[d] that a contractual relationship existed between [the
parties], but sets forth no facts to allege what kind of contract [they had], whether it was
nonexclusive, and whether it was valid”). Accordingly, the Court dismisses Plaintiff's
claims for tortious interference with a contract and employment without prejudice.

B. Tortious Interference with Prospective Economic Advantage

To plead a claim for tortious interference with a business relationship—which is
sometimes also called tortious interference with prospective economic advantage—the
plaintiff must allege the following elements: “(1) the plaintiff had business relations with
a third party; (2) the defendant interfered with those business relations; (3) the defendant
acted for a wrongful purpose or used dishonest, unfair, or improper means; and (4) the
defendant’s acts injured the relationship.” Katz, 2017 WL 1317000, at *4 (quoting
Catskill Dev., L.L.C. v. Park Place Entm’t Corp., 547 F.3d 115, 132 (2d Cir. 2008)).

In his opposition papers, Plaintiff clarifies that the business relationship at issue
was that between Plaintiff and his current employer, Delaware Medical Group, and that

Defendants interfered with that relationship by ceasing referrals. (Dkt. 35 at 26). UBNS

-29 -
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 30 of 32

and Dr. Levy argue that they could not tortuously interfere with business relations
between Plaintiff and Delaware Medical Group because those business relations belong
to his employer, not to Plaintiff. (Dkt. 36 at 11). “In New York, an employee cannot
state a claim for tortious interference with a business opportunity where the opportunity
belongs to his employer and not to him.” Brennen v. Phyto-Riker Pharm., Ltd., No. 01
CIV. 11815 (DLC), 2002 WL 1349742, at *4 (S.D.N.Y. June 20, 2002) (citing Robins v.
Max Mara, U.S.A., Inc., 923 F. Supp. 460, 468 (S.D.N.Y. 1996)); see also Frishberg v.
Esprit de Corp., 778 F. Supp. 793, 804 (S.D.N.Y. 1991) (“It is clear under New York law
that employees cannot state a claim against their employers for tortious interference with
business relations since the business relations belong to the employers, not the
employees.”), aff'd sub nom. Frishberg v. Espirit De Corp., 969 F.2d 1042 (2d Cir.
1992). This raises a question as whether the business opportunities (in this case, the
patient referrals) belong to Plaintiff as opposed to Delaware Medical Group. The
amended complaint is devoid of any allegations in this regard. Accordingly, the Court
dismisses Plaintiff's claim for tortious interference with prospective economic advantage
without prejudice.

VI. Leave to Amend

Plaintiff's opposition papers request the opportunity to amend his complaint in the
event that the Court grants any portion of Plaintiffs motion to dismiss. (Dkt. 35 at 7, 13-
14, 27). Plaintiff does not explain why leave to amend is warranted or how any potential

defects will be cured. (See id.).

- 30 -
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 31 of 32

Plaintiff's cursory request is procedurally defective under the Local Rules of Civil
Procedure. See Wi3, Inc. v. Actiontec Elecs., 71 F. Supp. 3d 358, 363 (W.D.N.Y. 2014)
(finding request for leave to amend defective for failure to comply with Local Rules of
Civil Procedure); see also Food Holdings Ltd. v. Bank of Am. Corp., 423 F. App’x 73, 76
(2d Cir. 2011) (finding district court did not abuse its discretion in denying leave to
amend complaint when request to amend was made “on the final page of their brief in
opposition to defendants’ motion to dismiss, in boilerplate language and without any
explanation as to why leave to amend was warranted” and collecting cases). Local Rule
15(a) provides that “[a] movant seeking to amend or supplement a pleading must attach
an unsigned copy of the proposed amended pleading as an exhibit to the motion,” and
Local Rule 15(b) requires parties represented by counsel to identify the proposed
amendments “through the use of a word processing ‘redline’ function or other similar
markings... .” L.R. Civ. P. 15(a), (b). Because Plaintiff has failed to comply with the
Local Rules, the Court exercises its discretion in denying this “cursory or boilerplate
request[] ... made solely in a memorandum in opposition to a motion to dismiss.” Malin
v. XL Capital, Ltd., 312 F. App’x 400, 402 (2d Cir. 2009) (citation omitted). If Plaintiff
wishes to seek leave to amend his amended complaint, he should do so through a
procedurally-compliant motion.

CONCLUSION

For the foregoing reasons, Defendants’ motion to dismiss (Dkt. 32) is granted in

part and denied in part. Specifically, the motion is granted with respect to Plaintiff's

Title VII claims against Dr. Levy individually, which are dismissed with prejudice. The

-31-
Case 1:15-cv-01052-EAW-HKS Document 42 Filed 05/19/17 Page 32 of 32

motion is denied with respect to Plaintiffs NYSHRL claims against Dr. Levy
individually, which may proceed. The following claims are dismissed without prejudice:
(1) Title VII claims against UBNS; (2) NYSHRL claims against UBNS; (3) § 1983
claims against both UBNS and Dr. Levy; and (4) tortious interference claims against

UBNS and Dr. Levy.

SO ORDERED.

 

Dated: May 19, 2017
Rochester, New York

-32-
